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UN|TED STATES BANKRUPTCY COURT
DlSTRlCT OF SOUTH DAKOTA

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P|ERRE, SOUTH DAKOTA 57501-2463

IRVIN N. HOYT TELEPHONE (605} 224-056{}
BANKRuPTc¥ JuDGE l-Ax (505} 224-sum

March 31, 2006

Lee Ann Pierce,

Chapter ? Trustee

Post Office Box 524

Brookings, South Dakota 5?006

David Nadolski, Esg.

Counsel for Beulah Parkinson
Post Office Box 1920

Sioux Falls, South Dakota 5?101

Dava A. Wantoch, Esq.
Counsol for Dobtors

41? North Main, Suite 103
Post Office Box 434
Mitchell, South Dakota 5?301

Subject: In re Wayne L. and Helen Mae Paulson,
Chapter ?, Bankr. No. 05-40068

Dear Trustee and Counsel:

The matter before the Court is the Motion for Authorization to
Sell Real Droperty by Dr"lv:-\te gale filed by T‘rwetee T.ee Ann D"lerce,
the Court’s interim_letter decision, and.Trustee Pierce’s response.
This is a core proceeding under 20 U.S.C. § l§?(b)(Z). This letter
decision and accompanying order shall constitute the Court’s final
findingsl and conclusions. As set forth below, the sale as
presently proposed will not be approved.

Summary. Debtors filed a Chapter ? petition on January 20,
2005. ln his schedules, he indicated he did not hold any real
property interest. In his Statement of Financial Affairs, he
disclosed. he had transferred. the following interest in real
property to Beulah Parkinson on January l4, 2005:

Undivlded 113 lnterest in and
to the E 188 112 ft- of Tract 90
of Norton Tract Subdlvlsiorl irl
the S 112 of Section 3,
Township 101 N, Range 49,
West of the 5th P_M.,
Minnehaha County, SD

No value received

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Chapter ? Trustee Lee Ann Pierce filed a Motion for
nuthorization to Sell Real Estate by Private Sale on November 15,
2005, in which she proposed to sell the above-described interest to
Beulah Parkinson, who was identified in the Motion as Debtor Helen
Paulson's mother, for 510,000. According to Trustee Pierce,
Parkinson was the previous owner of the property; she transferred
the land to her three children in l992 as part of an estate plan;
she continued to live on the property; and Debtors quit claimed
their one-third interest back to Parkinson on the day before they

filed bankruptcy (the deed was recorded post-petition). Trustee
Pierce stated the tax-assessed value of the real property was
$43,958. She further stated that Parkinson maintains a

constructive trust on the real property because she transferred_the
property to fher children vmljl the intent. of retaining' a life
estate, though she failed.to expressly reserve that interest in the
deedr Finally, Trustee Pierce stated.Parkinson offered.to purchase
Debtors’ interest for 510,000.

In it’s December 12, 2005, letter to Trustee Pierce, the Court
wrote:

In In re Wayne L. and Helen M. Paulscn, Bankr. No. 05-40068,
you have proposed selling Debtor Helen vaulson's one~tnird interest
in some real property to her mother. First, though you stated in
your sale motion that the assessed value of the land is $43,958.00,
there was no supporting information that the assessed value
approximates the fair market value. Second. you appear to have
discounted the $14,652.6? value of Debtor’s share to a purchase
price of 510,000.00, though no justification for that discount was
given. I am hesitant to accept the sale price when Debtors tried
to quitclaim their interest back to her mother on the eve of
bankruptcy and where her mother did not reserve a life estate on
Debtor Helen Paulson's share on which she (the mother) could claim
a homestead exemption. Third, the sale motion did not identify any
encumbrances on the property, including judgment liens. Please
supplement your sale motion with this additional information and
serve the supplement on parties in interestl including any
encumbrance holders.

In response, Trustee Pierce filed on January 30, 2006, a
supplement to her sale motion. Therein, she stated she had asked
Parkinson’s attorney, David Nadolski, to respond to the Court’s
request for information on how the sale price was determined.
Attorney Nadolski stated Parkinson had only deeded the legal title
to her children for estate planning purposes. He cited several
cases, all outside this Circuit, in support of Parkinson’s
proposition that the estate had no real interest in the land

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ln re Paulson
March 31, 2006
Page 3

because Debtors held only bare legal title that had no tangible
economic value for the bankruptcy estate.

Trustee Pierce’s response did_not address the Court’s concerns
regarding any encumbrances on the property, how any encumbrances
would be handled in the sale, and the fair market value of the
property.

Discussion. Under' nearly identical facts, the Court was
presented with the same issue in ln re Kristi L. Theunissen, Bankr.
No. 04-10322, slip op. (Bankr. D.S.D. May 25, 2005) [copy
attachedi. Depending on what additional facts may be material, it
appears the Court would reach a similar conclusion in this case.
Accordingly, the Court will deny Trustee Pierce’s Motion for
Authorization to Sell Real Property by Private Sale without
prejudice. The matter should be re-analyzed in light of the
Theunissen decision. any future sale motion should include an
analysis of the fair market value of the real estate; better
justify the proposed sale price; and identify any encumbrances and
state how they will be affected by the sale. nven if the ultimate
sale price proposed by Trustee Pierce is the same or nearly the
same, a better record supporting the price must be made.

An appropriate order will be entered.

Sincerely,

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Irvin . Hoyt
Bankruptcy Judge

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Attachment: Copy of In re Kristi L. Tneunissen, Bankr. No.
04-l0322, slip op. (Bankr. D.S.D. May 25, 2005).

CC: case file (docket original; serve parties in interest)

On the above date, a copy of this document NoT'CE oF ENTRY
Was mailed or taxed to the parties shown on U"'de' Fed'R'Ba"'kr'P' 9022(3)
the Notice of E|ectronic Fi|ing as not having
received electronic notice and Debtor(s), if
anmw)mdnmramweebdmnbnmme

This orderi]udgment was entered
on the date shown above

Charles L. Nai|, Jr.
Chai'|es L. Naii, Jr. C|eri_<, U..S Bankri.ipti.';vr Court
C|erk, U.S. Bankruptcy Court D'Si"':i Df Sf>uih DBkOiH
District of Souih Dakota

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Bankr. No. 04-10322
Chapter 7

Irl Ie:

KRISTI L. THEUNISSEN
SOC. SeC. NO. XXX-XX-6537 DECISION RE: TRUSTEE’S

MOTION FOR TURNOVER

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The matter before the Court is the Motion for Turnover filed
by Trustee Forrest C. Allred and the responses thereto filed by
Debtor V
Theunissen. This is a core proceeding under 28 U.S.C. § 157{b)(2).
This Decision and accompanying order shall constitute the Court's
findings and conclusions under Fed.Rs.Bankr.P. ?052 and 9014(c).
As set forth below, the Motion will be granted to the extent that
Debtor Kristi Theunissen must turn over to the estate the value of
her interest in the subject property on the petition date.

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In 1997, Doraine Theunissen and her son Terry Johnson
purchased a home at 1207 South Lawscn Street in Aberdeen. The home
was purchased with cash: no mortgage existed. Terry'Johnson passed
away in April 2004. Doraine Theunissen succeeded to his joint
tenancy interest, and she became the record sole owner on April 23,
2004. Since June 1997, she has paid the real estate taxes and

insurance for the home.

 

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The parties stipulated to many of the facts. The others,
especially those regarding Debtor’s bankruptcy filing, were
supplied by the case file.

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On June 28, 2004, without the advice of legal counsel, Doraine

Theunissen transferred the home to herself and her daughter, Kristi

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Doraine Theunissen, who was having significant health problems at
the time, made this transfer “for convenience purposes and for the
purpose of estate planning and eliminating anticipated probate
expenses.” Kristi Theunissen never lived in the Lawson Street
home, and she did not give her mother any consideration.in exchange
for her joint tenancy.

Kristi Theunissen [“Debtor”} filed a Chapter '7 petition in
bankruptcy on November 15, 2004. Her schedule of real property did
not include the Lawson Street home.

On November 24, 2004, Doraine Theunissen signed an agreement
providing for the sale of the Lawson Street home for $112,500.00.
Closing was scheduled for December 17, 2004. On November 24, 2004,
Doraine Theunissen also agreed to purchase a home at 808 North
State Street in Aberdeen on contract for $74,900.00. She intended
to keep the difference to help pay her medical and Other living
cxpcnecs. Thc Statc Btreet home was placed Only in Doraine
Theunissen's name.

On December 9, 2004, Kristi Theunissen amended her schedule of
real property to include the Lawson Street property. She stated on

the amendment that she

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contest[ed] the conveyance of the property [to her from
her mother]” and that the amended schedule “should_not be

interpreted as an acceptance of the property. The [joint
tenancy deed] was executed by the Debtor's mother as an

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involvement, and with no consideration exchanged.”
On December 9, 2004, case trustee Forrest C. Allred filed a

turnover n©tion seeking Debtor's interest in the Lawson Street

heme. Doth Debter and Doraine Theunissen

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objected on the grounds

that Debtor had no true ownership or equitable interest in the
home. Doraine Theunissen also asked that Trustee Allred be ordered
to abandon any interest in the house that the bankruptcy estate had
so that she could complete the proposed sale of the home. The
matter was submitted on stipulated facts and briefs.

In her briefs, Doraine Theunissen asked the Court to impose an
implied trust on the Lawson Street home for her benefit. She cited
S.D.C.L. § 55~1-11 and some cases in support of this theory.
Debtul joined her muthel’s arguments en these briefs.

In his briefs, Trustee Allred urged the Court to consider only
the recorded deeds and South Dakota law on. joint tenancy at
S.D.C.L. § 55-1~10, which, he argued, gave Debtor an undivided half
interest in the Lawson_ Street home. Because of the familial
relationship between Debtor and her mother, he argued the
appropriate inference was that the joint tenancy was a presently
intended gift. He also argued that the facts did not support the

imposition of a constructive trust.

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II.
Property of a bankruptcy' estate includes "all legal or
ertv as of the
commencement of the case." 11 U.S.C. § 541(a)(1].

The scope of [this Bankruptcy Code section] is broad. lt
includes all kinds of property, including tangible and

intangible property, causes of action .. . and all other
forms of property specified in gentian 70{3} of the
Bankruptcy Act. . . . [I]t includes as property of the

estate all property of the debtor, even that needed for
a fresh start.

S.Rep. No. 989, 95th Cong., 2d Sess. 823, reprinted in 1978
U.S.Code Cong. & Ad.News 5787, 5868; H.R.Rep. No. 595. 95th Cong..
1st Sess. 367-68 {1977), reprinted in 1978 U.S.Code Cong. & Ad.News
6322-24 (cited in Samore v. Graham (In re Graham}, ?26 F.Zd 1268,
1270 (Bth Cir. 1984)). Absent controlling federal law, however,
state law is used to determine the debtor's interest in a
particular type of property on the petition date. Butner V. United
States, 440 U.S. 48, 54-55 (1979). Thus, the issue presented by
Trustee sllred's turnover motion is what interest in the Lawson
Street house did Debtor have on the petition date under South
Dakota law?

Debtor and her mother have asked the Court to consider
imposing a trust or reforming the warranty deed. Both actions are

equitable in nature and recognized under South Dakota law.

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IV.
IMPOsITIoN oF A TRUST.

Clearly, Doraine Theunissen did not create an express trust of
the Lawson Street property' naming her daughter‘ as either the
trustee or beneficiary. S.D.C.L. §§ 55-1*3 and -4. The

circumstances also do not warrant the imposition of a constructive

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stlv breached any confidential
relationship and promise to her mother regarding the property. In
fact, no promise apparently was ever made since Uebtor did not
participate in the transfer. Rehfield v. Flemmer, 269 N.W.2d 804,
807 {S.D. 1978)(“‘one who has received a conveyance of real
property, induced by a confidential relationship, and in
consideration of a parol promise to hold the property in trust,
will he converted into such a constructive trustee if he unjustly
repudiates his promise'")(quoting therein Schwartzle v. Dale, 54
N.W.Zd 361, 363 (S.LJ. l952]].

State law recognizes situations, other than those arising from
fraud, when an implied trust may be created. See S.D.C.L.
§§ 55~1-6 through -10. This equitable tool is used to restore the
status guo. Knock v. Knock, 120 N.W. 2d 572, 576 (S.D. 1963). For
example, “[o]ne who gains a thing by ... mistake . . . is, unless

he has some other and better right thereto, an implied trustee of

have had it." S.D.C.L. § 55~1~8. Thus, a court may impose an

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implied trust when a mistake on a deed has been made if equity
warrants, though the “presumption of law is that an instrument
_eli_herate`|y
entered into expresses on its face its true intent and purpose."
Knock, 120 N.W.Zd at 577. To overcome that presumption and impose
an implied trust, the parole evidence must be clear and convincing.
Id. {cites therein). The court must consider the attendant facts
and circumstances of the transfer but it cannot create rights.
Id. at 5?6.

I-Iere, there is no evidence that Debtor received the property
under any sort of promise to her mother. It is not even clear
whether Debtor knew about the transfer before the petition date or
understood its legal import. Most important, however, the
stipulated facts state Doraine Theunissen intended to make a
present transfer of the property to her daughter but only for the
limited purpose of protecting the property from probate upon her
death. Consequently, returning the parties to the status quo
would not reflect Doraine Theunissen’s intent, and it would require
the Court to completely ignore the transfer that was intended. For
those reasons, the facts do not support the imposition of an
implied trust of the Lawson Street house exclusively for Doraine

Theunissen's benefit.

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IV.
REFORMATION.

For a court to reform a warranty deed, a mistake must exist
whereby the intent of parties to the deed was not expressed in the
language of the deed. S.D.C.L. § 21-11-3; Essignton v. Buchele,
115 N.W.2d 129, 131 {S.D. 1962). In making the reformation, the
“conforms the writing to the antecedent expressions on which the
parties agreed.” Id. (cites therein}. The reformable mistake may
be a nnstake of law where the words of the agreement are as
intended by the parties, but the legal effect of the words is not.
Id} (citing Restatement, Contracts, § 504). The reformation should
not prejudice any rights under the deed acquired by third parties
hi good Feith end inr valne_ S,D_C_Tn § 21-11-1_ Mnrenver,
"courts are properly reluctant to alter the terms of a written
engagement even in equity, and do not do so unless the proof is
clear and convincing[.]” Columbian National Life Insurance Co. v.
Black, 35 F.2d 571, 574 (10th Cir. 1929)(quoted in Bedford v.
Catholic Order of Foresters, 44 N.W.2d 781, 783 (S.D. 1950)].

The evidence of the parties' intent in this instance is very
limited. Stipulated fact nos, 25. 37. and 38 provide, in order:

That the reason Doraine Theunissen signed the deed
placing Kristi Theunissen's name on the Lawson Street
house was for convenience purposes and for the purpose of
estate planning and eliminating anticipated. probate
expenses.

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That Doraine Theunissen did not intend to make a
present giftr and there was no present donative intent on
her part to make any gift of the house when she placed
Kristi Theunissen’s name on the Deed to the Lawson Street

1 June 29, 2004.

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property
That Doraine Theunissen did not intend to convey any
equitable or beneficial interest in the Lawson Street

property to Kristi Theunissen by signing and recording
the Deed to the Lawson Street property.

urther, Trustee ellred, Debtor, end Doraine Theunissen stipulated
that Debtor did not pay any consideration for her interest in the
property.i

Three conclusions can be gleaned from these limited, and
somewhat incongruous, stipulated facts. First, Doraine Theunissen
wanted to eliminate “anticipated” probate expenses regarding the
Lawson Street house upon her {Doraine‘s) death. Second, Doraine
Theunissen wanted her daughter to own the Lawson Street property
upon her (Doraine’s) death. Third, Doraine Theunissen wanted the
legal transfer of the house to her daughter to be a simple
procedure. Based on this reoord, therefore, it appears that the
deed giving Debtor a present joint tenancy did not express her

intent. Instead, Doraine Theunissen actually intended to convey

 

2 Many' of the parties‘ stipulated facts deal with, what
happened after Debtor filed bankruptcyi such as Doraine
Theunissen‘s intention to sell the Lawson Street home. The only
facts that are material are those that relate to the execution of
the warranty deed. See Butte County v. Gaver, 49 N.W.2d 466, 468
LS.D. l951]lrights of parties fixed when contract executed and
subsequent circumstances could not create equity that court should

recognize).

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the house to her daughter Kristi while retaining a life estate for

herself. With this type of transfer, the property would stay with

Doraine Theunissen*s estate‘s legal costs to place the Lawson
Street property in Debtor‘s name upon Doraine’s death would be
minimal, and the procedure to do so would be relatively simple.
Thus, her intentions in making the transfer to her daughter would
all be accomplished.

In contrast, to reform the contract to provide that Debtor did
not hold any interest in the Lawson Street house on Dehtor‘s
petition date would, of course, be contrary to Doraine Theunissen's
intent. Thus, it would not be appropriate to reform the deed to
eliminate any interest for Debtor on the petition date.
Accordingly, the warranty deed giving Debtor Kristi Theunissen a
joint tenancy with right of survivorship will be reformed to give
Kristi Theunissen a remainder interest following her mother’s life
estate. Debtor's remainder interest is, therefore, property of
this bankruptcy estate that Debtor must turn over. If the parties
are unable to agree on thc value of that remainder interest on the
petition date, a valuation hearing, with appropriate appraisals,
will be required. If Debtor cannot reimburse the bankruptcy estate
for that value from her post~petition assets, she may want to

consider converting her Chapter 7 case to a Chapter 13 case where

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the value can be recognized over time through plan payments. See

ll U.S.C. § 1325(a)(4}.

athetic to the effect Debtor Kristi
Theunissen's bankruptcy is having on Doraine Theunissen and her
property interests. However, the Court cannot ignore a warranty
deed that was freely made by Doraine Theunissen with certain legal
expectations, namely to avoid probate costs. See Knock, 120 N.W.2d
at 577 {clear and convincing evidence required for finding that
owner giving warranty deed to daughters actually intended to convey
only legal title while he remained the beneficial owner). It would
be inequitable to recognize the transfer for only a probate but
completely ignore it for all others legal pur'poeee, including this
bankruptcy. See Rehfeld, 269 N.W.Zd at 808 (Porter, J.
dissenting).

An appropriate order will be entered.

So ordered this 25th day of May, 2005.

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District of Snuth Dakota

